Case 18-13774-ref           Doc 641       Filed 01/29/19 Entered 01/29/19 13:54:09                        Desc Main
                                          Document      Page 1 of 2

                          UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                                          :        Chapter 7
                                                                :
WORLEY & OBETZ, INC., et al.,1                                  :        Case No. 18-13774 (REF)
                                                                :        (Jointly Administered)
                            Debtors.                            :
                                                                :

                  AGENDA OF MATTERS SCHEDULED FOR HEARING ON
                        JANUARY 31, 2019 AT 9:30 & 11:00 A.M.

UNCONTESTED MATTERS UNDER CERTIFICATE OF NO RESPONSE AT 9:30 A.M.

         1. Chapter 7 Trustee's Motion Requesting Authorization to Make Payment of Certain
            Chapter 7 Administrative Expense Claims Pursuant to 11 U.S.C. Section 503(b) [D.I.
            618; Filed on January 3, 2019]

                  Objection Deadline: January 24, 2019 at 4:00 p.m.

                  Responses Received: None

                  Related Documents:

                            A.      Certificate of No Response [D.I. 640; Filed on January 29, 2019]

                  Status:           Pending entry of Order.


UNCONTESTED MATTERS GOING FORWARD AT 11:00 A.M.

         2.   Motion of Chapter 7 Trustee Requesting Authorization to Make Payments of Certain
              Chapter 7 Administrative Expense Claims to Global Coverage, Inc. and Rivers
              Insurance Group [D.I. 634; Filed on January 24, 2019]

                  Objection Deadline: January 31, 2019 at 11:00 a.m.

                  Responses Received: None to date




1
  The Debtors is these cases, along with the last four digits of their federal tax identification numbers are (i) Worley
& Obetz, Inc. (6576) (Case No. 18-13774-REF); (ii) Americomfort, Inc. (7605) (Case No. 18-13775-REF); (iii)
RPHAC, Inc. (9625) (Case No. 18-13776-REF); (iv) Amerigreen Energy, Inc. (6284) (Case No. 18-13777-REF); (v)
Advance Air, Inc. (8111) (Case No. 18-13778-REF); (vi) Amerigreen Energy Brokers, LLC (2358) (Case No. 18-
13779-REF); (vii) Amerigreen Electricity, LLC (8977) (Case No. 18-13780-REF); (viii) Amerigreen Hedging
Services, LLC (8549) (Case No. 18-13781-REF); (ix) Amerigreen Lubricants, LLC (7489) (Case No. 18-13782-REF);
(x) Amerigreen Natural Gas, LLC (3222) (Case No. 18-13783-REF); and (xi) Amerigreen Propane, LLC (Case No.
18-13784-REF).

ACTIVE\87182552.v1-1/29/19
Case 18-13774-ref         Doc 641   Filed 01/29/19 Entered 01/29/19 13:54:09           Desc Main
                                    Document      Page 2 of 2

                Related Documents:

                          A.   Motion to Expedite Hearing on Motion of Chapter 7 Trustee
                               Requesting Authorization to Make Payments of Certain
                               Chapter 7 Administrative Expense Claims to Global Coverage, Inc.
                               and Rivers Insurance Group [D.I. 635; Filed on January 24, 2019]

                          B.   Order Granting Motion to Expedite Hearing on Motion of Chapter
                               7 Trustee Requesting Authorization to Make Payments of Certain
                               Chapter 7 Administrative Expense Claims to Global Coverage, Inc.
                               and Rivers Insurance Group [D.I. 637; Entered on January 27,
                               2019]

                          C.   Certificate of Service [D.I. 639; Filed on January 28, 2019]

                Status:        This matter will go forward.

                                              Respectfully submitted,

                                              FOX ROTHSCHILD LLP

                                              By: /s/ Jesse M. Harris
                                              Jesse M. Harris, Esquire
                                              2000 Market Street, Twentieth Floor
                                              Philadelphia, PA 19103-3222
                                              Phone (215) 299-2000/Fax (215) 299-2150

Dated: January 29, 2019                       Counsel for Christine C. Shubert,
                                              Chapter 7 Trustee for the Debtors




                                                 2
ACTIVE\87182552.v1-1/29/19
